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                 EXHIBIT A
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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS



IN RE: NEW ENGLAND COMPOUNDING                              MDL No. 2419
PHARMACY, INC. PRODUCTS LIABILITY                           Master Dkt. 1:13-md-02419-RWZ
LITIGATION

THIS DOCUMENT RELATES TO:

All Actions

    PLAINTIFFS’ STEERING COMMITTEE’S REPLY TO JOINT OBJECTION OF THE
          CREDITORS’ COMMITTEE AND MEMBER REPRESENTATIVES
                REGARDING 8% HOLDBACK ORDER [ECF NO. 1279]


                                        I.       INTRODUCTION

        The PSC’s motion, like the court’s oral order, is not intended to create any entitlement to

fees; the proposed written order simply establishes a set aside for attorneys’ fees in a manner that

the Trustee accepts. The objection filed by six disgruntled lawyers for Creditors’ Committee

members1 repeatedly tries to side step Judge Saylor’s requirements for reimbursement of

common benefit work and permits free-for-all lawyering. When, as, and if there is a dispute

about a late request for approval of attorney time nunc pro tunc, it can be dealt with when ripe.

But this is the last case where lawyers should be grabby for fees or concerned about pinning

down their “right” to be paid out of victims’ pockets.

                                   I.        PROCEDURAL HISTORY

        The PSC’s overwhelming concern in this litigation has always been litigating this case


1
 There are nine members of the Creditors’ Committee (8 infected individuals and one trade creditor); each has his
or her own attorney acting as their representative on the Committee. Six attorneys for members of the Creditors’
Committee signed the objection (Anne Andrews, Michael Coren, Melvin Wright, Michael Galligan, Gregory
Skikos, and Terry Dawes). Three did not. Of those who did sign, four were part of a proposed PSC slate rejected by
Judge Saylor (Anne Andrews; Melvin Wright; Michael Galligan; and Chris Placitella/Michael Coren. Of those who
did not sign, two attorneys also serve on the PSC (Thomas M. Sobol and Marc Lipton). Neither Mr. Sobol nor Mr.
Lipton were aware of or consulted about the objection before or since its filing.

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efficiently, in a streamlined manner, with little to no duplication of efforts and no “over-

lawyering.”2 The PSC believes that our outright obsession with implementing this ideal was a

factor in Judge Saylor’s decision to appoint us in the first place:3

            The proposed leadership, although hopeful and determined, recognizes that given
            the likely potential for a limited fund expected to be available to compensate
            victims for the harm they suffered, along with the transactional costs associated
            with the efforts to maximize the bankruptcy estate, this MDL must be prosecuted
            in an efficient and strictly cost-effective manner. To effectuate these principles,
            the proposed leadership will enforce rules, including:
            (1) all common benefit work must be expressly approved by Lead/Liaison
            Counsel in advance;
            (2) all common benefit work must be conducted as efficiently as possible, with no
            duplicative work to be authorized;
            (3) all expenses must be pre-approved by Lead/Liaison Counsel;
            (4) counsel who intend to seek reimbursement for common benefit time or
            expenses must submit detailed time and expense records monthly to Lead/Liaison
            Counsel.

            Shortly after Judge Saylor appointed the PSC (and rejected the slate of attorneys that

included four of the six members of the Creditors’ Committee who signed the objection

regarding the 8% holdback order),4 the PSC submitted proposed orders instituting procedures for

any and all attorneys who wished to – in the future – be considered for an award stemming from

their work done for the common benefit of all plaintiffs in the MDL. MDL Order No. 3, entered

by Judge Saylor over a year ago, set the rules:5



2
  See, e.g., Letter from Thomas M. Sobol and Others Proposing Slate for Plaintiffs’ Steering Committee, March 19,
2013 [ECF No. 64] (“The proposed Plaintiffs’ Steering Committee’s overall objective is to get the most recovery for
the victims with the least expense and in the shortest amount of time. The slate believes it is critical to understand
that this may well be a very limited fund situation and that this is the last case that should suffer from over-
lawyering.”).
3
    Id. at 18.
4
 Anne Andrews of Andrews & Thorton; Melvin Wright of The Florida Firm; Michael Galligan of Galligan &
Newman; and Chris Placitella/Michael Coren of Cohen, Placitella, & Roth (misidentified as “Coren Placitella &
Roth” in the letter to the Court). Letter Proposing Plaintiffs Steering Committee Structure and Slate, March 19,
2013 [ECF No. 63].
5
 MDL Order No. 3, Order Concerning Sharing and Funding Plaintiffs’ Pretrial Expenses and Costs, April 11, 2013
[ECF No. 85].

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                   “These standards and procedures are intended to apply to all activities performed
                    and expenses incurred by counsel that relate to matters common to all claimants
                    in this litigation.”

                   “The following general standards and procedures are to be utilized by any counsel
                    seeking fees and/or expense reimbursement.”

                   “All claims for time and expenses submitted must be incurred only for work
                    authorized in advance by the Lead Counsel.”

                   “Any claimants’ counsel who seeks reimbursement or compensation for common-
                    benefit time and expenses (including any state-court counsel) shall comply with
                    these guidelines and any submission by such counsel shall be in accordance with
                    this order.”

                   “Counsel who intends to seek reimbursement shall submit time and expense
                    reports to Lead Counsel monthly. These reports should include both time and
                    expenses and should summarize, with back-up detail, the submissions of all
                    firms.”

                                              II.      ARGUMENT

           Sure, the PSC and the Creditors’ Committee have equal dignity.6 Sure, the Creditors’

Committee has statutory obligations to ensure protection of all creditors in the Chapter 11

bankruptcy. But attorney representatives of creditors on an unsecured Creditors’ Committee in

the Bankruptcy Court generally have no right to reimbursement for services rendered as counsel

for a member of that committee, as made clear by the U.S. Trustee’s initial solicitation for

committee members.7 And if attorneys for members of the Creditors’ Committee wished to be

considered – in the future – for an award from a common benefit fund created in the MDL, then

they were required to comply with MDL Order No. 3. Put simply, they stand in the same shoes

as all other attorneys who request reimbursement: They need to follow the rules if they want to

6
    See Transcript of the June 19, 2014 Status Conference, remarks of Michael Coren, 47:10-16.
7
 See January 3, 2013 Solicitation of Interest for Serving on an Unsecured Creditors’ Committee and/or Tort
Claimants’ Committee from U.S. Trustee at p. 2, attached as Exhibit A (“Further, actual expenses of committee
members (not including the professional fees of its individual counsel which is specifically prohibited under the
Bankruptcy Code) may be reimbursed from available estate assets.”) (emphasis added). See also In re Lehman Bros.
Holdings Inc., 2014 U.S. Dist. LEXIS 48102 (S.D.N.Y. Mar. 31, 2014); 11 U.S.C. §503(b). There is nothing
magical about wearing solely the hat of counsel for a member of the Creditors’ Committee that entitles one to
payment.

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get paid.

         The Creditors’ Committee is taking the Court’s request for a written order (made during

the June status conference) as another opportunity to propose language that contradicts MDL

Order No. 3, gives Creditors’ Committee members’ attorneys carte blanche approval for an

unstated amount of time spent on unstated efforts with unstated results, and accomplishes an end

run around the Bankruptcy Code and the U.S. Trustee’s admonition. The Creditors’

Committee’s proposed order provides:8

                 “The Court also recognizes that the PSC and OCC are independent of each other,
                  and therefore that OCC assignments of work to OCC Member Representatives
                  which may be compensable Common Benefit Work are not dependent on
                  authorization by the PSC and vice versa with respect to the PSC and PSC member
                  or delegate assignments.”

                 “All attorneys representing plaintiffs in the MDL and acting for the common
                  benefit of all plaintiffs (all such attorneys, including those serving as PSC
                  members and delegates or OCC Member Representatives, collectively, the
                  “Designated Counsel”) shall have the right to a reasonable common benefit
                  compensation from this Court for the Common Benefit Work provided by them as
                  set forth below;”

                 “Notwithstanding any provision of any previous order, the OCC Member
                  Representatives shall not require, per MDL Order No. 3, PSC authorization for
                  their work and may, where assigned work or tasks by the OCC, pursue and
                  receive compensation for their Common Benefit Work from the Common Benefit
                  Fund.”

                 “OCC Member Representatives will make certain of their work product created
                  solely for and in their capacity as Designated Counsel in connection with their
                  Common Benefit Work available to all participating parties in coordination with
                  the PSC; however, this provision does not apply to the work product of the OCC
                  and its counsel, Brown Rudnick, LLP.” 9

                 “The OCC Member Representatives shall have 90 days from the date of this order
                  to submit time and expense submissions for their Common Benefit Work
8
 Creditors’ Committee’s Proposed Order Establishing Assessment for Common Benefit Fund, July 21, 2014 [ECF
No. 1279-1].
9
 The Creditors’ Committees’ refusal to share the work product of the committee and its counsel suggests that the
Creditors’ Committee values the ability to drape its machinations in a veil of secrecy over maximizing the returns to
victims through the efficient coordination of all counsel across the MDL and the bankruptcy.

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               previously undertaken, and thereafter will submit contemporaneous time and
               expense submission in coordination with the PSC.”

Their attempts to write entitlements into a court order are not new; this Court has already

rejected them or decided that they need not be addressed now.

       More to the point, the question of whether the Creditors’ Committee members’ attorneys

are entitled to compensation for their professed Common Benefit work is not before this Court.

Nor is the question of whether time spent on common benefit work performed by the Creditors’

Committee nunc pro tunc that was not pre-authorized by Lead Counsel and was not documented

by monthly submission of contemporaneous time sheets may be considered for a common

benefit award. In fact, since the Court verbally granted the PSC’s motion of the 8% holdback

order during the last status conference, there is no question before the Court; only a request from

the Court that the parties submit a written order granting the PSC’s motion for a holdback.

       Sensible lawyers who were concerned that they had not followed MDL Order No. 3 to

the letter (and who wanted to address whether some post hoc authorization of common benefit

work is appropriate) would lay out what they think is appropriate common benefit work, provide

detailed time records showing that common benefit work, offer an explanation as to why they did

not comply with MDL Order No. 3, and formally request – from both Lead Counsel and the

Court – after-the-fact permission to deviate from the Court’s MDL Order No. 3. None of that

has happened here.

       As to the allegations that the PSC failed to adequately meet and confer before filing its

proposed order, the PSC has spent more time hearing about, reading about, emailing about, and

talking about the Creditors’ Committee’s gripes regarding MDL Orders No. 2 and 3 than we care

to admit. It was immediately apparent from the Creditor’s Committee’s comments on the PSC’s

latest proposed order that the parties were still at an impasse. Futility, thy name is yet-another-


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pointless-meet-and-confer.10

         Finally, it is unseemly for plaintiffs’ lawyers to be squabbling over who will, one day, get

paid here. This is the last case where lawyers should be trying to line their own pockets, or

assert an entitlement to line their pockets down the road, particularly lawyers who have also

reserved their right to recover fees through bankruptcy channels. Nothing has changed since

these same lawyers wrote, “In this case, in particular, efficient and focused allocation of efforts

and the management of cost expenditures is crucial, given the number and nature of the injury

cases and the limited recoverable assets and liability insurance that is available.”11

                                            III.     CONCLUSION

         The PSC hereby asks the Court to enter the proposed order submitted by the PSC as

Exhibit A to its Notice.12

Dated: July 24, 2014                                  Respectfully submitted,

                                                      /s/ Thomas M. Sobol
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                                                      Plaintiffs’ Lead Counsel

10
  The PSC did meet and confer with the Trustee and included language that addressed his concerns about
potentially interfering with the bankruptcy court’s jurisdiction and the point in the process when the 8% assessment
occurs.
11
  Letter Proposing Plaintiffs’ Steering Committee Structure and Slate, March 19, 2013 [ECF No. 63]. See also id.
(“We believe that strong coordination of the Chapter 11 bankruptcy proceeding and the MDL 2419 proceeding has a
realistic ability to most judiciously generate a compensation fund and then equitably distribute compensation to the
NECP tort victims.”).
12
  Plaintiffs’ Steering Committee’s Notice of Filing of Jointly Proposed Order Granting Motion for Entry of Case
Management Order Establishing Assessment Procedures to Fund Common Benefit Account [ECF No. 790], July 18,
2014 [ECF No. 1274].

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                   EXHIBIT A
to Plaintiffs’ Steering Committee’s Reply
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                                        U.S. Department of Justice

                                                       Office for United States Trustees
                                                       Districts of Maine, Massachusetts,
                                                       New Hampshire and Rhode Island

                                                      John P. McCormack Post Office and Courthouse
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                                                      Boston, MA 02109-3934
                                                      Phone: 617-788-0400
                                                      Fax: 617-565-6368


                                                      January 3, 2013

       RE:     SOLICITATION OF INTEREST FOR SERVING ON AN UNSECURED
               CREDITORS' COMMITTEE AND/OR TORT CLAIMANTS’ COMMITTEE

               New England Compounding Pharmacy, Inc., Chapter 11 Case No. 12-19882-HJB
               United States Bankruptcy Court for the District of Massachusetts

Dear Creditor or Claimant:

       The above named debtor filed for reorganization under chapter 11 of the Bankruptcy
Code and has identified you as one of their largest creditors or as a potential claim holder (or
representative of same). The Bankruptcy Code requires the United States Trustee to appoint a
committee of unsecured creditors to participate in the case and to represent the interests of all
unsecured creditors, if there is sufficient interest, or such other committees as appropriate.

       If you are willing to serve on a committee, please complete the enclosed questionnaire
and return it to the Office of the United States Trustee at your earliest convenience but no later
than JANUARY 16, 2013. Return of the questionnaire, however, does not guarantee
appointment to a committee – only that you will be considered by the United States Trustee for
appointment to a committee, if the United States Trustee decides to appoint one.

        Please take this opportunity to consider serving on a committee. The members of a
committee act on behalf of all similarly situated creditors or claimants. Under the Bankruptcy
Code, committees have the right to demand that the debtor consult with the committee prior to
making major decisions or changes, to request the appointment of a trustee or examiner, to
participate in the formation of a plan of reorganization, and in some cases, to propose its own
plan of reorganization. If appropriate, committees may request that the Bankruptcy Court
convert a chapter 11 case to one under chapter 7, at which time the debtor’s operations would
cease and its assets would be liquidated.

      We will have a meeting for purposes of forming a committee(s) on FRIDAY,
JANUARY 18, 2013 AT 10:00 A.M. at the Office of the United States Trustee, John W.
McCormack Post Office and Courthouse, 5 Post Office Square, Suite 1000, Boston, MA. If,
however, a sufficient number of creditors do not elect to serve on the committee, a committee
may not be formed, and these rights may go unexercised.

        Official committees are authorized by the Bankruptcy Code, subject to court approval, to
select and employ an attorney and other necessary professionals. Fees of professionals
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employed by committees may be paid from available assets, if any, of the bankruptcy estate after
court approval. Further, actual expenses of committee members (not including the professional
fees of its individual counsel which is specifically prohibited under the Bankruptcy Code) may
be reimbursed from available estate assets.

         Thank you for your assistance, and we hope that you will choose to participate.


                                              Sincerely,

                                              WILLIAM K. HARRINGTON
                                              United States Trustee, Region 1

                                      By:     /s/ Jennifer L Hertz
                                              Trial Attorney
                                              Jennifer.L.Hertz@USDOJ.gov

Attachments
(questionnaire and information sheet)
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                Official Committee of Unsecured Creditors’ Committee
                                  Information Sheet

        Purpose of Unsecured Creditors' Committees. To increase participation in the chapter
11 proceeding, section 1102 of the Bankruptcy Code requires that the United States Trustee
appoint a committee of unsecured creditors (the “Committee”) as soon as practicable after the
order for relief has been entered. The Committee ordinarily consists of the persons, willing to
serve, who hold the seven largest unsecured claims of the kinds represented on such committee.
The debtor has filed a list indicating that your claim may be among the largest unsecured claims
against the debtor, and for that reason, you may be eligible to serve on the Committee.
Generally, there must be at least three unsecured creditors willing to serve in order to form a
Committee.

        Powers and Duties of Unsecured Creditors' Committees. Members of the Committee
are fiduciaries who represent all unsecured creditors as a group without regard to the types of
claims which individual unsecured creditors hold against the debtor. Section 1103 of the
Bankruptcy Code provides that the Committee may consult with the debtor, investigate the
debtor and its business operations and participate in the formulation of a plan of reorganization.
The Committee may also perform such other services as are in the interests of the unsecured
creditors whom it represents.

       Employment of Professionals. Section 1103 of the Bankruptcy Code provides that the
Committee may, subject to the bankruptcy court's approval, employ one or more attorneys,
accountants or other professionals to represent or perform services for the Committee. The
decision to employ particular professionals should occur at a scheduled meeting of the
Committee where a majority of the Committee is present. All professionals retained by the
Committee may be compensated from assets of the debtor's estate pursuant to section 330 of the
Bankruptcy Code. Applications for the payment of professional fees may be monitored by the
Office of the United States Trustee and are subject to the Court's approval. However, the
Committee should carefully review all applications and not rely on the Court or the United States
Trustee to discover and object to excessive professional fees or costs.

        Other Matters. The Committee should elect a chairperson and may adopt bylaws. As a
party in interest, the Committee may be heard on any issue in the bankruptcy proceeding.
Federal Bankruptcy Rule 2002(i) requires that the Committee (or its authorized agent) receive all
notices concerning motions and hearings in the bankruptcy proceeding.

        Creditors wishing to serve on any official committee are advised that they may not
purchase, sell or otherwise trade in or transfer claims against the debtor while they are
committee members absent an order of the Court. By submitting the enclosed
Questionnaire and accepting membership on an official committee of creditors, you agree
to this prohibition. The United States Trustee reserves the right to take appropriate action,
including removing a creditor from any committee, if the information provided in the
Questionnaire is inaccurate, if the foregoing prohibition is violated, or otherwise. You are
hereby notified that the United States Trustee may share this information with the
Securities and Exchange Commission if deemed appropriate.

       Should you have any additional questions concerning the Committee or your membership
on the Committee, please contact Attorney Jennifer L. Hertz at the Office of the United States
Trustee, John W. McCormack Post Office and Courthouse, 5 Post Office Square, Suite
1000, Boston, MA 02109-3934, (617) 788-0412 or Jennifer.L.Hertz@usdoj.gov.
